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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

JOHN A. PATTERSON                          )
721 North Quidnessett Road                 )
North Kingstown, RI 02852                  )
                                           )
JOHN BOYT                                  )
210 Whalers Walk                           )
San Pedro, CA 90731                        )
                                           )   5:17-cv-00467
JANIS FORT                                 )
29272 Providence Way                       )
Hayward, CA 94544                          )
                                           )
RUBY ALSBURY                               )
4400 Bluemel Road, #514                    )
San Antonio, TX 78240                      )
                                           )
RAYMOND BRUNTMYER                          )
250 East Debbie Lane                       )
Apt 5210                                   )
Mansfield, TX 76063                        )
                                           )
JUDY HENSLEY                               )
8452 Mt Vernon                             )
Lemon Grove, CA 91945                      )
                                           )
DOUGLAS KELDER                             )
N1037 Glendenning Road                     )
Shell Lake, WI 54871                       )
                                           )
              Plaintiffs,                  )
v.                                         )
                                           )
DEFENSE POW/MIA ACCOUNTING                 )
AGENCY; FERN SUMPTER WINBUSH,              )
in her official capacity as Interim Agency )
Director of DPAA; DEPARTMENT OF            )
DEFENSE; JAMES MATTIS, in his official     )
capacity as Secretary of Defense; AMERICAN )
BATTLE MONUMENTS COMMISSION;               )
ROBERT DALESSANDRO, in his official        )
capacity as Acting Secretary.              )
                                           )

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                                       )
          Defendants                   )
_______________________________________)


                           PETITION FOR WRIT OF MANDAMUS
                              AND DECLARATORY RELIEF

                                        INTRODUCTION

       This action is brought pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201, and

Mandamus Act, 28 U.S.C. § 1361 and 28 U.S.C. § 1651 in response to the ongoing inaction of the

Defense POW/MIA Accounting Agency (“DPAA”) and its predecessor the Joint POW/MIA

Accounting Command (“JPAC”) in correctly accounting for deceased WWII era Army service

members whose remains were not identified by the U.S. Government and were buried as

Unknowns. At the close of World War II, the U.S. Army Graves Registration Service identified

some, but not all, of the remains recovered from various temporary cemeteries in the Philippine

Islands. Ultimately, these unidentified remains were interred in the Fort McKinley Military

Cemetery near Manila as Unknowns. All records pertaining to these remains were classified and

restricted from public access until recently.

       Through related litigation in this Court and other research, some of the classified records

have become available to family members who wish to see the remains of their loved ones

identified. Defendants have arbitrarily, capriciously and repeatedly refused to consider this new

evidence or conduct newer, more reliable, inexpensive and readily available DNA sequencing tests

to identify the remains. This violates the DPAA’s ministerial duty to locate, recover and identify

the remains of missing persons under 10 U.S.C. § 1501 et seq. Defendants have abused the

procedures outlined in 10 U.S.C. § 1501 et seq., to include failing to provide family members of

missing persons appropriate information related to their fallen relatives, and have systematically



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denied Plaintiffs’ right to substantive due process. Accordingly, Plaintiffs seek an order from this

Court compelling the DPAA to carry out its duties as mandated by statute and to declare the rights

of the Plaintiffs to the identification and repatriation of the remains of their loved ones.

                                                  I.

                                             PARTIES

       1.      Hon. John A. Patterson, nephew of Alexander R. Nininger, is the person designated

by the Department of Defense to direct disposition of the remains of Alexander R. Nininger.

Plaintiff, as the designated Primary Next of Kin (PNOK) of Nininger, continues to suffer a legal

wrong due to ongoing DPAA inaction and failure to carry out its ministerial duties, for which there

is no adequate legal remedy. Furthermore, ongoing DPAA inaction has substantially deprived

Plaintiff of his rights to due process under the United States Constitution. Plaintiff is thus a proper

party under the respective statutes and the United States Constitution.

       2.      John Boyt, grandson of Loren P. Stewart, is the person designated by the

Department of Defense to direct disposition of the remains of Loren P. Stewart. Plaintiff, as the

designated Primary Next of Kin (PNOK) of Stewart, continues to suffer a legal wrong due to

ongoing DPAA inaction and failure to carry out its ministerial duties, for which there is no

adequate legal remedy. Furthermore, ongoing DPAA inaction has substantially deprived Plaintiff

of his rights to due process under the United States Constitution. Plaintiff is thus a proper party

under the respective statutes and the United States Constitution.

       3.      Janis Fort, granddaughter of Guy O. Fort, is the person designated by the

Department of Defense to direct disposition of the remains of Guy O. Fort. Plaintiff, as the

designated Primary Next of Kin (PNOK) of Fort, continues to suffer a legal wrong due to ongoing

DPAA inaction and failure to carry out its ministerial duties, for which there is no adequate legal

remedy. Furthermore, ongoing DPAA inaction has substantially deprived Plaintiff of her rights to

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due process under the United States Constitution. Plaintiff is thus a proper party under the

respective statutes and the United States Constitution.

       4.       Mrs. Ruby Marie Alsbury, sister of Robert R. Morgan, is the person designated by

the Department of Defense to direct disposition of the remains of Robert R. Morgan. Due to

medical disability, Mrs. Alsbury has granted General Power of Attorney to her son, David Alsbury,

for all purposes including the disposition of the remains of Robert R. Morgan, as provided for by

10 U.S.C. § 1501(d). Plaintiff, as the designated Primary Next of Kin (PNOK) of Morgan,

continues to suffer a legal wrong due to ongoing DPAA inaction and failure to carry out its

ministerial duties, for which there is no adequate legal remedy. Furthermore, ongoing DPAA

inaction has substantially deprived Plaintiff of her rights to due process under the United States

Constitution. Plaintiff is thus a proper party under the respective statutes and the United States

Constitution.

       5.       Raymond Bruntmyer, brother of Lloyd Bruntmyer, is the person designated by the

Department of Defense to direct disposition of the remains of Lloyd Bruntmyer. Plaintiff, as the

designated Primary Next of Kin (PNOK) of Bruntmyer, continues to suffer a legal wrong due to

ongoing DPAA inaction and failure to carry out its ministerial duties, for which there is no

adequate legal remedy. Furthermore, ongoing DPAA inaction has substantially deprived Plaintiff

of his rights to due process under the United States Constitution. Plaintiff is thus a proper party

under the respective statutes and the United States Constitution.

       6.       Judy Hensley, niece of David Hansen, is the person designated by the Department

of Defense to direct disposition of the remains of David Hansen. Due to disability, Judy Hensley

has designated her Daughter, Jennifer Russell, as her Attorney in Fact for all purposes regarding

the disposition of the remains of David Hansen as provided for by 10 U.S.C. § 1501(d). Plaintiff,



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as the designated Primary Next of Kin (PNOK) of Hansen, continues to suffer a legal wrong due

to ongoing DPAA inaction and failure to carry out its ministerial duties, for which there is no

adequate legal remedy. Furthermore, ongoing DPAA inaction has substantially deprived Plaintiff

of her rights to due process under the United States Constitution. Plaintiff is thus a proper party

under the respective statutes and the United States Constitution.

       7.      Douglas Arthur Kelder, nephew of Arthur H. Kelder, is the person designated by

the Department of Defense to direct disposition of the remains of Arthur H. Kelder. Plaintiff, as

the designated Primary Next of Kin (PNOK) of Kelder, continues to suffer a legal wrong due to

ongoing DPAA inaction and failure to carry out its ministerial duties, for which there is no

adequate legal remedy. Furthermore, ongoing DPAA inaction has substantially deprived Plaintiff

of his rights to due process under the United States Constitution. Plaintiff is thus a proper party

under the respective statutes and the United States Constitution.

       8.      Defendants are the Defense POA/MIA Accounting Agency (“DPAA”) and Fern

Sumpter Winbush, in her official capacity as Interim Agency Director of DPAA; U.S. Department

of Defense (“DOD”); James Mattis, in his official capacity as Secretary of Defense; the American

Battle Monuments Commission (“ABMC”); Robert Dalessandro, in his official capacity as Acting

Secretary of the ABMC . Each Defendant is either an agency of the United States or an officer or

employee of an agency of the United States

                                                II.

                                JURISDICTION AND VENUE

       9.      This Court has both subject matter jurisdiction over this action and personal

jurisdiction over the parties pursuant to 28 U.S.C. §§ 1331 and 2201 and the Fifth Amendment and

Fourteenth Amendment of the United States Constitution. This Court has authority to order



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declaratory relief under 28 U.S.C. § 2201 et seq. because there is a case or controversy between to

the parties. This Court has authority to issue a Writ of Mandamus under 28 U.S.C. § 1361 because

Plaintiffs seek a writ requiring Defendants to comply with their ministerial duties as specified at

10 U.S.C. §§ 1501-1513, Army Regulation 638-2 and other policies and because there is no

adequate legal remedy available to Plaintiffs.

       10.     The Defendants in this action are either employees or officers of an agency of the

United States and an agency thereof. Plaintiff Ruby Alsbury, David Alsbury and Ray Bruntmyer

are residents of TX. Accordingly, venue is proper under 28 U.S.C. § 1391(e)(3).

                                                 III.

                                    RELATED LITIGATION

       11.     On September 28, 2010, a complaint was filed in this court, Eakin v. U.S.

Department of Defense, SA10CA0748-FB, seeking records under the Freedom of Information Act.

Records obtained during that litigation form the basis for this complaint.

       12.     On October 18, 2012, a Petition for Writ of Mandamus was filed in this court, Eakin

v. American Battle Monuments Commission, et al, SA-12-CA-1002-FB-HJB, to obtain the

remains of Pvt. Arthur H. "Bud" Kelder. Kelder’s partial remains were recovered and successfully

identified in response to this action thereby verifying the accuracy of the records and feasibility of

identification of the remains.




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                                               IV.

                                             FACTS

A.     Remains X-1130

       1.      U.S. Army First Lieutenant Alexander R. “Sandy” Nininger was killed in action on

January 12, 1942 while serving in the province of Bataan, Philippine Islands.              He was

posthumously awarded the Medal of Honor for his actions against the enemy.

       2.      U.S. Government documents show that 1LT Nininger’s remains were first buried

at the Catholic Churchyard in Abucay, Bataan, Philippine Islands. At the conclusion of hostilities,

these remains were exhumed by U.S. Army Graves Registration personnel and given the

designation X-1130 Manila #2 Cemetery.

       3.      Five recommendations to identify remains X-1130 as 1LT Nininger were

disapproved due to an erroneously calculated antemortum height which did not match 1LT

Nininger’s known height.

       4.      Remains X-1130 were ultimately buried as an Unknown in Manila American

Cemetery Grave J-7-20 where they presently lie.

       5.      Plaintiff Patterson alleges that these are the remains of his uncle, 1LT Nininger.

B.     Remains X-3629

       1.      U.S. Army Colonel Loren P. Stewart was the Commanding Officer of the 45th

Infantry Regiment, Philippine Scouts when he was killed in action on January 13, 1942.

       2.      U.S. Government documents contain a witness account of his burial near Abucay

Hacienda, Bataan, Philippine Islands.     At the conclusion of hostilities, these remains were

exhumed by U.S. Army Graves Registration personnel and given the designation X-3629 Manila

#2 Cemetery.



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       3.      Efforts to positively identify the remains were unsuccessful due to a misspelling of

Colonel Stewart’s name as STUART on a request for his antemortum dental records.

       4.      Remains X-3629 were ultimately buried as an Unknown in Manila American

Cemetery Grave N-15-19 where they presently lie.

       5.      Plaintiff John Boyt alleges that these are the remains of his grandfather, Colonel

Stewart.

C.     Remains X-618

       1.      U.S. Army Brigadier General Guy O. Fort commanded the 81st Division

(Philippines) and later guerrilla forces in the Philippine Islands when he was taken prisoner by

enemy forces in September 1942. Fort is the only American-born general officer to be executed

by enemy forces.

       2.      U.S. Government records contain a sworn witness statement by Ignacio S. Cruz,

Governor of Misamis Oriental Province, which recounts the execution and burial of General Fort

by enemy forces as retaliation for an attack on enemy forces.

       3.      At the conclusion of hostilities, Governor Cruz directed the recovery of these

remains and turned them over to U.S. Army Graves Registration personnel where they were

designated as X-618 Leyte #1 Cemetery. These remains are presently buried as an Unknown in

Manila American Cemetery Grave L-8-113.

       4.      Plaintiff Janis Fort alleges that these are the remains of her uncle, General Fort.

D.     Remains from Cabanatuan Grave 822

       1.      U.S. Army Private Robert R. Morgan survived the infamous Bataan Death March

and imprisonment at Camp O’Donnell, but ultimately succumbed to disease and malnutrition on

January 1, 1943 while confined in Cabanatuan POW Camp, near Cabanatuan, Nueva Ecija, Luzon,

Philippine Islands.
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       2.      Private Morgan was buried in communal grave number 822 as one of the five U.S.

Servicemen who died on that day.

       3.      At the conclusion of hostilities, U.S. Army Graves Registration personnel exhumed

the remains in the camp cemetery. The four from Grave 822 who could not be identified, including

Private Morgan, were ultimately buried as Unknowns in the Manila American Cemetery where

they presently lie.

       4.      Plaintiff Alsbury alleges that the remains of her brother, Private Morgan, currently

rest in the Manila American Cemetery.

E.     Remains from Cabanatuan Grave 704

       1.      U.S. Army Private First Class Lloyd Bruntmyer survived the infamous Bataan

Death March and imprisonment at Camp O’Donnell, but ultimately succumbed to disease and

malnutrition on November 1, 1942 while confined in Cabanatuan POW Camp, near Cabanatuan,

Nueva Ecija, Luzon, Philippine Islands.

       2.      PFC Bruntmyer was buried in communal grave number 704 as one of the ten U.S.

Servicemen who died on that day.

       3.      At the conclusion of hostilities, U.S. Army Graves Registration personnel exhumed

the remains in the camp cemetery.

       4.      The eight from grave 704 who could not be identified, including PFC Bruntmyer,

were ultimately buried as Unknowns in the Manila American Cemetery where they presently lie.

       5.      Plaintiff Bruntmyer alleges that the remains of his brother, PRF Bruntmyer,

currently rest in the Manila American Cemetery.

F.     Remains from Cabanatuan Grave 407

       1.      U.S. Army Private First Class David Hansen survived the infamous Bataan Death

March and imprisonment at Camp O’Donnell, but ultimately succumbed to disease and

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malnutrition on June 28, 1942 while confined in Cabanatuan POW Camp, near Cabanatuan, Nueva

Ecija, Luzon, Philippine Islands.

        2.       PFC Hansen was buried in communal grave number 407 as one of the

approximately seventeen U.S. Servicemen who died on that day.

        3.       At the conclusion of hostilities, U.S. Army Graves Registration personnel exhumed

the remains in the camp cemetery. The six from grave 407 who could not be identified, including

PFC Hansen, were ultimately buried as Unknowns in the Manila American Cemetery where they

presently lie.

        4.       Plaintiff Hensley alleges that the remains of her uncle, PFC Hansen, currently rest

in Manila American Cemetery.

G.      Remains from Cabanatuan Grave 717

        1.       U.S. Army Private Arthur H. “Bud” Kelder survived the infamous Bataan Death

March and imprisonment at Camp O’Donnell, but ultimately succumbed to disease and

malnutrition on November 19, 1942 while confined in Cabanatuan POW Camp, near Cabanatuan,

Nueva Ecija, Luzon, Philippine Islands.

        2.       Private Kelder was buried in communal grave number 717 as one of the fourteen

U.S. Servicemen who died on that day.

        3.       At the conclusion of hostilities, U.S. Army Graves Registration personnel exhumed

the remains in the camp cemetery. The ten from Grave 717 who could not be identified, including

Private Kelder, were ultimately buried as Unknowns in the Manila American Cemetery.

        4.       Beginning in 2014, the graves of the ten Unknowns buried in the Manila American

Cemetery and the four Knowns buried in the U.S. were exhumed for identification.

        5.       Each of the remains originally buried in Cabanatuan Grave 717 were virtually

anatomically complete when exhumed.
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        6.       In 2015, the Kelder family received Kelder’s skull, three long bones and a few other

minor bones for burial.

        7.       To date, only partial remains of Private Kelder have been returned to the Kelder

family for burial.

        8.       Plaintiff Kelder alleges that his uncle’s remains currently rest with the DOD Central

Identification Laboratory.

                                                  V.

                                              CLAIMS

A.      Writ of Mandamus 28 U.S.C. § 1651

        1.       The preceding sections and paragraphs of the Petition are incorporated herein as if

set forth at length.

        2.       10 U.S.C. § 1501 et seq. requires the DPAA to locate, recover and identify

missing persons from past conflicts, or their remains, after hostilities have ceased.

        3.       Hostilities in World War Two ended on 14 August 1945.

        4.       10 U.S.C. § 1501 et seq. requires the DPAA to establish a means of communication

between officials of the DPAA and family members of missing persons from past conflicts and

concerned citizens, including a readily available means for communication of their views and

recommendations, to the Agency Director.

        5.       Plaintiffs and their families have expended innumerable hours over the course of

decades identifying the location of the remains of their loved ones.

        6.       The location of these remains is now ascertainable to precise common grave sites

and exact individual grave markers.




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        7.        The DPAA and its predecessor agencies has failed and continues to fail in its

ministerial duty to identify and recover these remains despite compelling evidence provided by

Plaintiffs.

        8.        The DPAA and its predecessor agencies has failed and continues to fail in its

ministerial duty to identify and recover these remains despite there being an expedient and cost-

effective means of doing so such as DNA testing.

        9.        The DPAA and its predecessor agencies has failed and continues to fail in its

ministerial duty to communicate with Plaintiffs in a readily available manner and instead has

actively obstructed the Plaintiffs’ attempts to exchange information with it.

        10.       The DPAA and its predecessor agencies has used the procedures for seeking relief

under 10 U.S.C. § 1501 et seq. and related statutes, regulations, formal guidance, white papers and

administrative codes to frustrate their underlying purpose of identifying and recovering remains

such that the Plaintiffs have been denied substantive due process under the 5th Amendment of the

United States Constitution and no adequate legal remedy remains.

        11.       As a result of the DPAA’s continuing inaction and failure to carry out its ministerial

duties, the Plaintiffs continue to suffer harm in that the remains of their loved ones killed overseas

fighting for the United States that could be readily identified and returned have not been returned

more than 70 years after the cessation of hostilities.

B.      Declaratory Judgment 28 U.S.C. §§ 2201-02.

        1.        The preceding sections and paragraphs of the Petition are incorporated herein as if

set forth at length.




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       2.       Under the Declaratory Judgment Act, the court “may declare the rights and other

legal relations of any interested party seeking such declaration, whether or not further relief is or

could be sought.” 28 U.S.C. § 2201(a).

       3.       The Plaintiffs have filed this petition against the DPAA alleging that the DPAA has

failed to perform a number of ministerial duties required by 10 U.S.C. § 1501 et seq., including

the DPPA’s obligation to locate, recover and identify missing persons from past conflicts and its

statutory obligation to provide a means of readily available communication with Plaintiffs.

       4.       The DPAA and its predecessor agencies has used the procedures for seeking relief

under 10 U.S.C. § 1501 et seq. and related statutes, regulations, formal guidance, white papers and

administrative codes to frustrate their underlying purpose of identifying and recovering remains

such that the Plaintiffs have been denied substantive due process under the 5th Amendment of the

United States Constitution and no adequate legal remedy remains.

       5.       The continuing failures and inaction of the DPAA and the Plaintiffs’ objection to

the same gives rise to a case and controversy between the parties.

       6.       As a result of the DPAA’s continuing inaction and failure to carry out its ministerial

duties, the Plaintiffs continue to suffer harm in that the remains of their loved ones killed overseas

fighting for the United States that could be readily identified and returned have not been returned

more than 70 years after the cessation of hostilities.

       7.       Plaintiffs are entitled under 28 U.S.C. § 2201-02 to a declaration of their rights and

the responsibilities of DPAA under 10 U.S.C. § 1501 et seq. because:

                a.     the remedies requested are practical and further efficient judicial

                administration; and

                b.     it is within the Court’s judicial function and power to do so; and



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                c.      granting such relief is consistent with traditional principles of equity,

                comity, and federalism; and

                d.     the petition raises a concern sounding in substantive due process

                guaranteed by the United States Constitution; and

                e.     clarification of the rights and obligations of the parties is manifestly in the

                public interest as thousands of other American citizens are similarly situated to

                Plaintiffs; and

                f.     a declaratory judgment will serve a useful purpose by establishing a

                precedent for similarly situated American citizens and resolve the controversy

                between the parties.

                                                 VI.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in favor of

Plaintiffs and against the Defendants and award Plaintiffs the following relief:

       1.       An order, pursuant to 28 U.S.C. § 1361 that Defendants shall consider all new

credible evidence of the identity of unidentified remains;

       2.       An order, pursuant to 28 U.S.C. § 1361 that Defendants shall promptly disinter for

identification all unidentified remains by DNA analysis upon a showing of a reasonable probability

based on evidence of their identification or, provide alternative means for family members to act

and identify the remains if the Defendants fail to promptly act;

       3.       An order, pursuant to 28 U.S.C. § 1361 that Defendants shall promptly act to adopt

and employ all reasonable forensic technologies in keeping with current forensic best practices

which may assist in the efficient and timely identification of previously unidentified remains;



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        4. An order, pursuant 28 U.S.C. § 1361 enjoining Defendants from any further or ongoing

violation of constitutionally protected rights including substantive due process rights and ordering

that Defendants promptly provide for due process in consideration of new evidence as to the

identity of unidentified remains;

        5.       An order pursuant to 28 U.S.C. § 1361 ordering Defendants to reliably

communicate with Plaintiffs as required by 10 U.S.C. § 1501 et seq. and enjoining them from

committing further violations by failing to reliably communicate with Plaintiffs about the status of

their cases;

        6.       An order, pursuant to 28 U.S.C. § 2201(a) et seq. declaring that Defendants have

wrongfully deprived families of deceased American service members of constitutionally protected

rights to due process and possession of the remains of their family members;

        7.       An order, pursuant to 28 U.S.C. § 2201(a) et seq. that certain of Defendants’

policies, procedures, guidance, white papers and regulations concerning identification of

unidentified remains including, but not limited to, DOD Directive Number 1300.22, May 25, 2011

Subject: Mortuary Affairs Policy, (CJCS) Joint Publication 4-06 Mortuary Affairs 12 October

2011 and U.S. Army Regulation 638-2, conflict with the plain meaning and intent of 10 U.S.C. §

1501 et seq.

        8.       An order, pursuant to 28 U.S.C. § 2201(a) et seq. that certain of Defendants’

policies concerning identification of unidentified remains were applied selectively and

inconsistently and enjoining such future action;

        9.       An order, pursuant to 28 U.S.C. § 2201(a) et seq. finding that Defendants have

wrongfully withheld from Plaintiffs documents, information and communication in violation of

the Freedom of Information Act and an order of this Court enjoining further violation;



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       10.       An order, pursuant to 28 U.S.C. § 2201(a) et seq. finding that Defendants have

failed to readily communicate with Plaintiffs and enjoining further violation;

       11.       An order, pursuant to 28 U.S.C. § 2201(a) et seq. that when Plaintiffs act in

Defendants’ absence to identify and recover remains, Defendants shall promptly reimburse all

expenses incident to the recovery, care, and disposition of the remains of any missing U.S. Military

personnel as provided for by 10 U.S.C. § 1482.

       12.       That the Court retain jurisdiction in this case pending a substantial showing by

Defendants that all possible unidentified remains will be identified in accordance with the Court’s

instructions;

       13.       An award of Plaintiffs’ costs and reasonable attorneys’ fees, as appropriate; and

       14.       An award of any further relief to Plaintiffs that this Court deems just, proper, and

equitable.




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Respectfully submitted, this 26th day of May, 2017.

                                     CROSS, JENKS, MERCER & MAFFEI, LLP


                                     ___/s/ Benoit M. Letendre_______
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                                     GENDRY & SPRAGUE, PC


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                                     Counsel for Plaintiffs




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